
650 S.E.2d 596 (2007)
STATE
v.
Eugene Tyrone DeCASTRO.
No. 221A93-3.
Supreme Court of North Carolina.
August 22, 2007.
Barry McNeill, Special Deputy Attorney General, Susan Doyle, District Attorney, for State of NC.
The following order has been entered on the second motion filed on the 17th day of August 2007 by Defendant for Extension of Time to File Petition for Writ of Certiorari:
"Motion Allowed. Defendant (DeCastro) shall have up to and including the 20th day of September 2007 to file and serve his/her Petition for Writ of Certiorari with this Court. By order of the Court in conference this the 22nd day of August 2007."
